                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                    NO: 5:20-CV-198

UNITED STATES OF AMERICA,                       )
                                                )
                            Plaintiff,          )
                                                )             COMPLAINT
             v.                                 )
                                                )
MARK RAYFIELD BROWN, JR.,                       )
AYANNA CARR-BROWN, MICHELE                      )
GIBBONS-CARR, AND RICHARD D.                    )
CARR                                            )
                                                )
                            Defendants.         )

      The United States of America, by and through the United States Attorney for

the Eastern District of North Carolina, complains of the defendants, and says:

                  I.      PARTIES, JURISDICTION, AND VENUE
      1.     This is a civil action brought by Plaintiff United States of America

(“United States”) against Defendants Mark Rayfield Brown, Jr. (“Mark Brown”),

Ayanna Carr-Brown (“Ayanna Carr-Brown”), Michele Gibbons-Carr (“Dr. Gibbons-

Carr”), and Richard D. Carr (“Dr. Carr”).

      2.     Mark Brown is a resident of Wake County, North Carolina, within the

Eastern District of North Carolina. Mark Brown was prosecuted and convicted in the

Eastern District of North Carolina for conspiracy to commit healthcare fraud, and

was ordered by this Court to pay $445,480.00 in restitution. United States v. Mark

Brown, No. 5:16-CR-326-1FL.         This action is an effort to enforce that criminal



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judgment pursuant to 18 U.S.C. § 3613(a) and (f), 18 U.S.C. § 3664(m), 28 U.S.C. §

3202(a) and (e), and 28 U.S.C. § 3306.

      3.     Defendant Ayanna Carr-Brown is a resident of Wake County, North

Carolina, within the Eastern District of North Carolina. Ayanna Carr-Brown is the

wife of Mark Brown (collectively, “Browns”).

      4.     Defendants Dr. Carr and Dr. Gibbons-Carr (collectively, “Carrs”) are

residents of Norfolk County, Massachusetts. Dr. Carr is the father of Ayanna Carr-

Brown, and Dr. Gibbons-Carr is the stepmother of Ayanna Carr-Brown.

      5.     The government’s allegations center on Mark Brown’s fraudulent

transfers of funds used to pay for construction of an in-law suite located at 2009 Falls

Forest Drive, Raleigh, North Carolina (“Falls Forest Property”), which is in Wake

County, North Carolina, within the Eastern District of North Carolina. The Carrs

purportedly own the Falls Forest Property. The government’s allegations also involve

Mark Brown’s fraudulent transfers of funds to the Carrs under the guise of loan

payments related to the real property located at 1101 Fanning Drive, Wake Forest,

North Carolina (“Fanning Drive Property”), which is in Wake County, North

Carolina, within the Eastern District of North Carolina. The Browns previously

owned the Fanning Drive Property.

      6.     This Court has jurisdiction pursuant to 28 U.S.C. § 1345 because the

United States is the Plaintiff.

      7.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391, 1395, and

3004. Specifically, the criminal acts that led to the debt the United States seeks to


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collect occurred in the Eastern District of North Carolina, and the underlying facts of

this action arise from activity within this district. Furthermore, the United States

has statutory authority to enforce the Court’s judgment pursuant to the Federal Debt

Collection Procedures Act, which allows for nationwide service and, by corollary,

venue in any federal judicial district. Finally, the property at issue in this action is

located in the Eastern District of North Carolina.

                         II.    FACTUAL ALLEGATIONS

A. Nature of the Action.

      8.     In this action, the United States seeks a judgment against the Carrs as

a remedy for Mark Brown’s fraudulent transfer of $40,000.00 to the Carrs, which

Mark Brown made to the Carrs in multiple payments between May 2014 and May

2018. Those fraudulently transferred funds were used to repay a loan that the Carrs

(not the Browns) took out and secured with a property located in Wellesley,

Massachusetts that the Carrs (not the Browns) own, in order to pay for the

construction of an in-law suite that the Carrs (not the Browns) use at the Falls Forest

Property that the Carrs (not the Browns) purportedly own. Additionally, the United

States seeks a judgment against the Carrs as a remedy for Mark Brown’s fraudulent

transfer of at least $32,725.62 to the Carrs under the guise of “loan payments” made

from July 2016 to May 2018, and that exceeded any amounts the Browns owed them

for the Fanning Drive Property. As a result of these fraudulent transfers, the United

States seeks a judgment in the amount of at least $72,725.62 against the Carrs,

jointly and severally, in addition to other relief as set forth below.

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B. The Carrs’ Purchase of the Falls Forest Property.

      9.      In January 2008, the Browns purchased the Fanning Drive Property,

with a loan from EquiFirst Corporation.

      10.     Sometime between 2010 and 2011, the Browns and the Carrs decided

they would purchase a property together where they could all live.

      11.     In February 2011, the Carrs entered into a contract to purchase the

Falls Forest Property for $825,000.

      12.     Upon information and belief, the offer to purchase the Falls Forest

Property was contingent on the sale of the Fanning Drive Property. Accordingly, in

early 2011, the Browns entered into an agreement with North State Bank to sell the

Fanning Drive Property for $450,000. At the time the Browns entered into this

agreement, their outstanding mortgage on the Fanning Drive Property was at least

$544,000.00, creating negative equity in the property.    Because the debt on the

property exceeded the sales price, the Browns had to bring cash to the real estate

closing.

      13.     On March 25, 2011, Ayanna Carr-Brown sent an email to Dr. Gibbons-

Carr requesting a loan. The email indicated that the payoff amount for the Browns’

mortgage on the Fanning Drive Property was $542,599, and that the Browns needed

to borrow $67,599 to complete the sale of the Fanning Drive Property. A copy of the

Ayanna Carr-Brown email is attached as Exhibit A, and incorporated herein by

reference.




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      14.       The Carrs provided the Browns $67,599 to pay the Browns’ outstanding

mortgage balance when they closed on the sale of the Fanning Drive Property

(“Fanning Drive Property Loan”).

      15.       Upon information and belief, the Browns never agreed in writing to

repay the Fanning Drive Property Loan. There was no written loan agreement

memorializing repayment terms or interest on the Fanning Drive Property Loan.

      16.       On April 7, 2011, the Browns sold and deeded the Fanning Drive

property to North State Bank.

      17.       Also, on April 7, 2011, the Browns entered into an installment contract

(“Installment Contract”) with the Carrs to purchase an interest in the Falls Forest

Property. The Installment Contract is attached as Exhibit B, and incorporated herein

by reference.

      18.       The Browns were unable to obtain a mortgage in their own name due to

poor credit.

      19.       The Carrs paid part of the purchase price of the Falls Forest Property in

cash, and the remaining balance was financed through two loans that the Carrs

obtained from North State Bank. The first was a first-mortgage loan in the principal

amount of $417,000, and the second was a purchase-money home equity loan in the

principal amount of $58,000. The aggregate amount of the loans the Carrs received

from North State Bank for the purchase of the Falls Forest Property was $475,000.

      20.       Under the Installment Contract, the Browns agreed to pay the Carrs’

loans on the Falls Forest Property (with an aggregate principle amount of $475,000)


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in full within ten years of the Installment Contract date. See Ex. B at 1. In exchange,

the Carrs agreed to convey a deed to the Browns for the interest acquired in the Falls

Forest Property when the two loans secured by the property were paid in full.

      21.     Under the Installment Contract, the interest the Browns acquired in the

Falls Forest Property would be equal to the principal amount of the loans from North

State Bank ($475,000), divided by the amount the Carrs paid to purchase the Falls

Forest Property ($825,000) plus the costs of any improvements (as it turns out,

$250,000 for the Carrs’ in-law suite) – that is, 44.19 percent. See Ex. B at 1.

      22.     In addition to paying the Carrs’ loans from North State Bank, the

Browns were also required to pay the homeowner’s insurance premiums and real

estate taxes for the Falls Forest Property, despite that the property was titled in the

Carrs’ names. See Ex. B at 3.

      23.     Under the Installment Contract, if the Browns failed to make a monthly

payment for the loans from North State Bank, and the payment remained delinquent

for more than sixty days from the due date, the Carrs had the option to accelerate the

entire outstanding balance due under the Installment Contract, and to declare the

entire balance due and payable immediately. See Ex. B at 2.

      24.     North State Bank sold the Carrs’ loans to BB&T shortly after the Carrs

purchased the Falls Forest Property.

      25.     Between April 2011 and September 2018, the Browns’ monthly payment

to the Carrs ranged between $3,900 and $4,125. The Browns’ monthly payment to




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the Carrs increased over time due to the change in the mortgage and the increased

costs associated with homeowner’s insurance and real estate taxes.

        26.     Under the Installment Contract, the Browns had the option to make

their monthly payment directly to the Carrs or directly to the lender. The majority

of the payments were drawn against the joint bank account of the Browns, and the

checks were endorsed by Mark Brown. See Ex. B at 2.

        27.     The Browns made the majority of their monthly payments under the

Installment Contract by going to a North State Bank branch location and depositing

a check into the Carrs’ bank account. On a few occasions, the Browns submitted

payment directly to BB&T, the institution that purchased the note from North State

Bank.

        28.     The Falls Forest Property has been the Browns’ primary residence since

the Installment Contract was entered into. Upon information and belief, it has never

been the Carrs’ primary residence.

C.      Construction of the In-Law Suite at the Falls Forest Property.

        29.     Wanting space at the Falls Forest Property for themselves, the Carrs

financed the construction of an in-law suite in 2011 for their exclusive use.

        30.     The cost of constructing the Carrs’ in-law suite was around $250,000.

        31.     The Carrs (not the Browns) took out a $150,000 loan secured by a

property in Wellesley, Massachusetts owned by the Carrs (not the Browns), to fund

the construction of the in-law suite, which is used exclusively by the Carrs (not the




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Browns).     The Carrs paid for the remaining costs of the in-law suite from their

investment accounts.

      32.     The Carrs (not the Browns) contracted with the builder and designed

the in-law suite, without input from the Browns.

      33.     In addition to having separate security systems, the Carrs’ in-law suite

and the main house on the Falls Forest Property have different cable and internet

providers.

      34.     The Carrs pay for the cable, internet, and security system in their in-

law suite, while the Browns separately pay for the cable, internet, and security

system used in the main house on the Falls Forest Property.

      35.     The Carrs pay one-third of the monthly water and electricity bill for the

Falls Forest Property, while the Browns pay the remaining two-thirds.

D.    The Browns’ Payment History to the Carrs.

      36.     Although the Installment Contract was entered into on April 11, 2011,

the Carrs claim that the Browns’ payments under the Installment Contract did not

commence until January 1, 2012. The Browns made payments to the Carrs from

January 1, 2012 through at least May 18, 2018, when the last payment was made

prior to Mark Brown’s incarceration.       Ayanna Carr-Brown continued to make

sporadic payments to the Carrs after Mark Brown’s incarceration. The United States

is not seeking to recover the funds transferred to the Carrs by Ayanna Carr-Brown

after Mark Brown’s incarceration.




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      37.     With slight unexplained deviations, from January 1, 2012 through April

11, 2016, the Browns paid the Carrs $3,900 per month under the Installment

Contract. After April 11, 2016, and until May 2018, the Browns’ payments to the

Carrs increased to $4,125 per month. According to Dr. Gibbons-Carr, the increase

was attributable to an increase in real estate taxes and homeowner’s insurance

premiums.

      38.     The Browns consistently made the monthly payments described in the

preceding paragraph using checks drawn from the joint bank account of Mark Brown

and Ayanna Carr-Brown. The United States has presumed that 100% of the funds

in the joint bank account belonged to Mark Brown.

      39.     At least one of the payments described in paragraph 37 was made with

a check drawn from a Village Life Center, LLC a business account, on which Mark

Brown had signature authority.

      40.     The majority of the checks (including the one from Village Life Center)

were signed by Mark Brown.

      41.     Dr. Gibbons-Carr and Ayanna Carr-Brown contend that not until

October 2018 did the Browns ever default on a payment under the Installment

Contract for more than 60 days. On information and belief, however, the Browns

actually defaulted on more than one occasion before October 2018 and the payment

remained outstanding for more than 60 days. On information and belief, not until

the Browns’ interest in the Falls Forest Property was under investigation by the




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United States (an investigation about which the Carrs knew) did the Carrs see fit to

document one of the Browns’ defaults with a default notice.

      42.    Dr. Gibbons-Carr contends the Browns’ monthly payments to the Carrs

under the Installment Contract were allocated to paying: (1) principal and interest

on the acquisition loans for the Falls Forest Property; (2) the Browns’ portion of the

homeowner’s insurance premiums on the Falls Forest Property; (3) the Browns’

portion of the real estate taxes on the Falls Forest Property; (4) the Browns’ portion

of the homeowner’s association fees on the Falls Forest Property; (5) surcharges; and

(6) $800 or $1,000 towards the principal and interest of the secured loan for the Carrs’

in-law suite at the Falls Forest Property.

      43.    Once the items listed in the preceding paragraph were paid, any

remaining money was applied to the Fanning Drive Property Loan.

      44.    Although the Installment Contract required the Browns to pay the

entire real estate taxes, mortgage interest, and homeowner’s insurance for the Falls

Forest Property, Dr. Gibbons-Carr claims that the Carrs were responsible for half of

the mortgage interest, real estate taxes, and insurance on the Falls Forest Property,

and that the Browns were responsible for the other half. Further, since the payment

for these items was escrowed with the monthly mortgage payment, Dr. Gibbons-Carr

contends, the Browns paid 100% of these items, and the Carrs allocated the one-half-

portion paid on their behalf by the Browns to the outstanding principle balance on

the Fanning Drive Property Loan.




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      45.    There were not any specific debts to which the Browns’ monthly

payments were applied, other than those identified in paragraphs 42-43 of this

complaint, above.

      46.    Upon information and belief, the Fanning Drive Property Loan was paid

in full by June 2016. Accordingly, any portion of the Browns’ subsequent monthly

payments to the Carrs that exceeded the amounts needed to pay the items identified

in paragraph 43 of this complaint, above, were fraudulent transfers of cash. That

amount is at least $32,725.62.

E.    Mark Brown’s Criminal Conduct

      47.    While Mark Brown was fraudulently transferring money used to pay for

the Carrs’ in-law suite at the Falls Forest Property, and fraudulently transferring to

the Carrs amounts exceeding those required to pay for the items identified in

paragraphs 42-43 of this complaint, above, he was also conspiring to defraud

Medicaid of hundreds of thousands of dollars through Medicaid reimbursements, and

thereby incurring a debt to the United States.

      48.    In early 2014, after falling on hard times after a failed business venture,

Mark Brown had a conversation with Chris Brown (one of Mark Brown’s co-

conspirators) about purchasing a mental health company. After the conversation,

Chris Brown loaned Mark Brown $20,000 in cash for the purchase of the mental

health company.

      49.    In April 2014, Mark Brown purchased Christian Medical, Inc.

(“Christian Medical”), a North Carolina mental health company that was registered


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with the North Carolina Department of Health and Human Services, Division of

Medical Assistance.

      50.    Christian Medical was purported by Mark Brown to be a provider of

outpatient behavioral health services when, in fact, Christian Medical was a shell

business with no legitimate operations, and was used and maintained for the sole

purpose of defrauding the state Medicaid system.

      51.    As a part of the conspiracy to defraud Medicaid, Mark Brown instructed

Chris Brown to fraudulently back-bill Medicaid for services that were never rendered,

through Christian Medical.

      52.    Beginning no later than in or about April 2014, and continuing until at

least in or about May 2015, Mark Brown conspired with others to defraud the North

Carolina Medicaid system by submitting false and fraudulent claims for

reimbursement of services that were not rendered by the billing providers.

      53.    Christian Medical submitted at least 8,620 fraudulent reimbursement

claims to Medicaid, at the direction of Mark Brown, totaling $533,300 in fraudulent

claims, of which $445,480 was paid. Thus, by May 2015, Mark Brown had incurred

a debt to the United States in the amount of $445,480.         Yet, he continued to

fraudulently transfer money to the Carrs.

F.    The Carrs Transfer the Falls Forest Property into the Michele V.
      Gibbons-Carr Revocable Trust, u/t/d February 12, 2016.

      54.    On February 12, 2016, in the midst of the federal investigation into

Mark Brown’s criminal activity, Dr. Gibbons-Carr established the Michele V.



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Gibbons-Carr Revocable Trust Agreement (“Trust”). The trustees for the Trust were

Dr. Gibbons-Carr and Dr. Carr.

      55.   On July 5, 2016, the Carrs deeded their interest in the Falls Forest

Property to “Richard D. Carr and Michele Gibbons-Carr, Trustees of the Michele V.

Gibbons-Carr Revocable Trust, u/t/d February 12, 2016.”       A copy of the North

Carolina Gift Quitclaim Deed is attached as Government Exhibit C, and is

incorporated herein by reference.

      56.   Dr. Gibbons-Carr claims the transfer of the Falls Forest Property into

the Trust was simply part of her estate planning and was independent of the United

States’ contemporaneous investigation into Mark Brown’s criminal conduct.

G.    Mark Brown Pleads Guilty and Is Sentenced for Conspiracy to
      Commit Healthcare Fraud in the Eastern District of North Carolina.

      57.   On December 7, 2016, Mark Brown executed a plea agreement with the

United States, in which he agreed to plead guilty to a criminal information charging

him with conspiracy to commit healthcare fraud in violation of 18 U.S.C. § 1349. In

his plea agreement, Mark Brown agreed “[t]o make restitution to the North Carolina

Fund for Medical Assistance in the amount of $445,480.” Mark Brown expressly

agreed that restitution would be due and payable immediately.

      58.   As soon as Mark Brown signed the plea agreement, at the latest, he

knew he would owe the United States $445,480 in restitution. Yet, he continued to

pay the Carrs for the loan that the Carrs took out and secured with the Carrs’

Massachusetts property for the construction of the Carrs’ in-law suite at the Falls

Forest Property. Additionally, and notwithstanding his agreement to pay nearly half
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a million dollars in restitution to the victim of his crime, Mark Brown continued to

pay the Carrs amounts beyond what the Browns owed the Carrs for the Falls Forest

Property and the Fanning Drive Property Loan.

      59.    On February 16, 2017, pursuant to his written plea agreement, Mark

Brown waived indictment and pled guilty in United States District Court to the

charged offense in the Criminal Information.

      60.    On March 20, 2018, Mark Brown was sentenced to 30 months’

imprisonment and three years’ supervised release, and was ordered to pay $445,480

in restitution and a $100 special assessment. The Court ordered Mark Brown’s

special assessment and restitution due and payable in full immediately.

      61.    At the time of sentencing, Mark Brown acknowledged that his home, the

Falls Forest Property, was purchased with the Carrs. Additionally, he admitted that

although the Falls Forest Property was not in the Browns’ names, the Browns were

responsible for the home maintenance and mortgage. At the time of sentencing, Mark

Brown believed that he would qualify to take out a substantial home equity loan on

the Falls Forest Property to pay his total restitution.

      62.    Upon information and belief, at the time of his sentencing Mark Brown

was insolvent and had a negative cash flow each month.

H.    Despite Court-ordered restitution, Mark Brown failed to make any
      voluntary payments to the victim of his crime, but continued to
      fraudulently transfer funds to the Carrs.

      63.    Mark Brown has altogether failed to make any voluntary payments

towards his federal restitution debt. Yet, even after the Court ordered his restitution


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due and payable in full immediately, he continued to pay the Carrs for the loan that

the Carrs took out and secured with the Carrs’ Massachusetts property for the

construction of the Carrs’ in-law suite at the Falls Forest Property. Additionally, and

notwithstanding the Court’s restitution order, Mark Brown continued to pay the

Carrs amounts beyond what the Browns owed the Carrs for the Falls Forest Property

and the Fanning Drive Property Loan.1

      64.    In an effort to collect Mark Brown’s Court-ordered restitution the United

States began investigating Mark Brown’s ownership interest in the Falls Forest

Property.

      65.    On September 7, 2018, the United States filed a “Notice of Lien for Fine

or Penalty” (“Notice of Lien”) with the Wake County Clerk of Superior Court, under

file number 18-M-3576. The lien named Dr. Carr and Dr. Gibbons-Carr, Trustees of

the Michele V. Gibbons-Carr Revocable Trust, u/t/d/ February 12, 2016, as Nominees

for Mark Brown.

      66.    The United States’ investigation into Mark Brown’s ownership interest

in the Falls Forest Property consisted of subpoenaing documents from several banks,

Ayanna Carr-Brown, and the Carrs. Additionally, the United States deposed Ayanna

Carr-Brown on August 24, 2019, and the Carrs on October 30, 2019.

      67.    On December 30, 2019, after assessing the available evidence and

reviewing the deposition testimony of Ayanna Carr-Brown and the Carrs, the United




1 Mark Brown has paid the forfeiture amount ordered by the Court, which was
$178,192.00 [D.E. 36, 45].
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States released the lien naming Dr. Carr and Dr. Gibbons-Carr, Trustees of the

Michele V. Gibbons-Carr Revocable Trust, u/t/d/ February 12, 2016 as a nominee for

Mark Brown. A copy of the Certificate of Release of Lien is attached as Exhibit D,

and incorporated herein by reference.

I.      The Browns’ Default and the Carrs’ Termination of the Installment
        Contract

        68.   The Browns failed to make their monthly payments under the

Installment Contract in October, November, and December of 2018, and January of

2019.

        69.   On February 26, 2019, the Carrs sent a default letter to the Browns. In

the letter, the Carrs explained to the Browns that “[u]nder the terms of the

Installment Contract, [the Browns] were required to make the monthly payments on

the loans we took out to purchase the [Falls Forest Property]. Currently, you are over

four months in arrears in the required payments.” (emphasis added). Additionally,

the letter stated that the Carrs were “giving the [Browns] notice of default and

declaring the entire indebtedness remaining due under the Installment Contract now

due and payable in full.”     The default letter is attached as Exhibit E, and is

incorporated herein by reference.

        70.   In the default letter, the Carrs explained that the Browns had five days

to pay the entire balance under the Installment Contract, or the Carrs would

terminate the Browns’ interest in the Falls Forest Property.




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          71.   The Browns failed to pay the entire outstanding balance under the

Installment Contract within the 5-day timeframe provided for in the Carrs’ default

letter.

          72.   On March 5, 2019, the Carrs terminated the Installment Contract by a

Termination of Memorandum of Real Estate Contract (“termination memorandum”).

The termination memorandum was recorded in the Registry of Deeds for Wake

County, North Carolina, on March 18, 2019. A copy of the termination memorandum

is attached as Exhibit F, and is incorporated herein by reference.

          73.   The notice of default and termination memorandum are entirely

inconsistent with the Carrs’ history of failing to enforce the Installment Contract.

          74.   On information and belief, on more than one occasion before October

2018, more than 60 days passed between the Browns’ payments under the

Installment Contract. On those occasions, the Carrs did not issue a default notice,

terminate the Installment Contract, or terminate the Browns’ interest in the Falls

Forest Property. All of that changed once the United States started investigating the

Browns’ ownership interest in the Falls Forest Property. When the Browns defaulted

in that context, the Carrs promptly issued a default letter and recorded a termination

memorandum.

          75.   After the Carrs recorded the termination memorandum, Ayanna Carr-

Brown made two additional payments to the Carrs for the Fall Forest Property. In

May 2019, Ayanna Carr-Brown signed a $4,125 check that was deposited into the

Carrs’ bank account. In August 2019, Ayanna Carr-Brown signed another $4,000


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check that was made payable to the Carrs. On that August 2019 check, Ayanna Carr-

Brown wrote the phrase “Use & Occupancy” in the memo line.

      76.    Dr. Gibbons-Carr instructed Ayanna Carr-Brown to use the phrase “Use

& Occupancy” in the memo line of the August 2019 check referenced in the preceding

paragraph.

J.    Mark Brown’s Fraudulent Transfers to the Carrs.

      77.    Mark Brown fraudulently transferred money to the Carrs that was used

to pay for the loan that the Carrs took out and secured with the Carrs’ property, and

which was used to construct an in-law suite addition to the Falls Forest Property that

was designed, used, and maintained exclusively by the Carrs (not the Browns).

      78.    Despite Dr. Gibbons-Carr’s contention that the Browns were responsible

to pay half of the cost of the in-law suite addition because it was an improvement to

the Falls Forest Property, the Browns were never contractually obligated to pay any

amount on the loan that the Carrs took out, secured with the Carrs’ property, and

used to construct the Carrs’ own in-law suite. In fact, the Carrs contend the Browns

never had any ownership interest in the Falls Forest Property at all.

      79.    Each payment that Mark Brown made toward the Carrs’ secured loan

for the construction of the Carrs’ in-law suite was a fraudulent transfer, beginning in

April 2014, when Mark Brown’s criminal activity began, up until May of 2018, when

Mark Brown reported to prison.

      80.    Mark Brown fraudulently transferred at least $40,000 to the Carrs to

repay a loan that the Carrs took out, secured with their own Massachusetts property,


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and used to construct their own in-law suite at the Falls Forest Property that the

Carrs (not the Browns) own.

         81.   Mark Brown also fraudulently transferred money to the Carrs through

the guise of Installment Contract payments that exceeded any amounts the Browns

actually owed the Carrs, whether under the Installment Contract, for the Fanning

Drive Property Loan, or for anything else.

         82.   Through the excess payments described in the preceding paragraph,

Mark Brown fraudulently transferred at least $32,725.62 to the Carrs.

         83.   In all, Mark Brown fraudulently transferred at least $72,725.62 to the

Carrs.

K.       Mark Brown’s Outstanding Restitution Debt

         84.   Mark Brown has paid only $27,108.97 in restitution to the victim of his

crime. Mark Brown did not pay any of that money voluntarily; the United States has

collected that entire amount through enforced collection.

         85.   By contrast, Mark Brown’s co-conspirators – with whom Mark Brown’s

restitution debt is joint and several – have paid $164,589.44 and have entered into

payment agreements with the United States.

         86.   As of May 11, 2020, Mark Brown owes $253,856.59 in restitution.

                                FIRST CAUSE OF ACTION
                                  Fraudulent Transfers
                                 (28 U.S.C. § 3301, et seq.)
         87.   Plaintiff re-alleges and incorporates by reference the paragraphs above

as if fully set forth herein.


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      88.    Based on the factual allegations above, the transfers of funds by Mark

Brown to the Carrs used to repay the Carrs’ secured loan for the in-law suite, and in

excess of any amounts the Browns actually owed the Carrs were fraudulent because

the payments were made after Mark Brown incurred a debt to the United States;

Mark Brown made the transfers without receiving reasonably equivalent value in

exchange; and Mark Brown was insolvent at the time of the transfers or became

insolvent as a result of the transfers. See 28 U.S.C. § 3304(a).

      89.    Based on the factual allegations above, the transfers of funds by Mark

Brown to the Carrs used to repay the Carrs’ secured loan for the in-law suite, and in

excess of any amounts the Browns actually owed the Carrs was fraudulent because

Mark Brown did not receive reasonably equivalent value in exchange for the

transfers, and Mark Brown intended to incur, or believed or reasonably should have

believed that he would incur, debts beyond his ability to pay as they became due. See

28 U.S.C. § 3304(b)(1)(B).

      90.    Based on the factual allegations above, Mark Brown’s transfers of funds

to the Carrs used to repay the Carrs’ secured loan for the in-law suite, and in excess

of any amounts the Browns actually owed the Carrs was fraudulent because Mark

Brown made the transfers to the Carrs with the actual intent to hinder, delay, or

defraud a creditor (the United States), because, among other things, (1) the transfers

were made to an insider (the Carrs); (2) the transfers were concealed; (3) before Mark

Brown made the transfers to the Carrs, he had been sued or threatened with suit; (4)

Mark Brown was insolvent or became insolvent shortly after the transfers were made;


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and (5) Mark Brown’s transfers of funds to the Carrs occurred shortly before or

shortly after Mark Brown incurred a substantial debt. See 28 U.S.C. §§ 3304(b)(1)(A)

and 3304(b)(1)(2).

        91.   In sum, Mark Brown fraudulently transferred funds to the Carrs, and

the United States is entitled to (1) avoid each transfer, (2) a remedy under Title 28,

United States Code, Chapter 176 against the assets transferred or other property of

the Carrs, or (3) any other relief that the circumstances may require. 28 U.S.C. §

3306.


                            SECOND CAUSE OF ACTION
                                   Surcharge
                                (28 U.S.C. § 3011)
        92.   Plaintiff re-alleges and incorporates by reference the paragraphs above

as if fully set forth herein.

        93.   The United States has had to engage in proceedings under the Federal

Debt Collection Procedure Act in order to attempt to collect the judgment against

Mark Brown.       These efforts include the filing of two liens, the issuance of

approximately 15 subpoenas, the taking of approximately 4 depositions, the filing of

4 applications for writs of garnishments, and the filing of this action.

        94.   Pursuant to 28 U.S.C. § 3011, the United States is entitled to a

surcharge of ten percent (10%) of the amount of the judgment, which is $25,385.66,

against Mark Brown.




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                              PRAYER FOR RELIEF

      Wherefore, the United States respectfully requests that the Court enter

judgment in favor of the United States and against Defendants, as follows:


      1.      That the Court find that Mark Brown fraudulently transferred funds to

the Carrs, through the payments Mark Brown made on the Carrs’ secured loan taken

out for the construction of the in-law suite addition to the Falls Forest Property, and

for the overpayments that Mark Brown made to the Carrs in excess of any amounts

actually owed.

      2.      That the Court enter judgment against the Carrs, jointly and severally,

in the amount of at least $72,725.62 , plus interest on the judgment at the legal rate

until paid in full, pursuant to 28 U.S.C. § 1961.

      3.      That a judgment be entered against Mark Brown for a ten percent (10%)

surcharge on his criminal restitution debt as allowed by law, in the amount of

$25,385.66.

      4.      That the costs of this litigation, including attorney’s fees, be taxed

against the Carrs.

      5.      For such other and further relief as the Court deems just and proper.




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Respectfully submitted, this 13th day of May, 2020.

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